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 9                      UNITED STATES DISTRICT COURT
10                     CENTRAL DISTRICT OF CALIFORNIA
11
      OCM GROUP USA INC.,                    Case No. 2:19-cv-08917 SB (KSx)
12

13                            Plaintiff,     EVIDENTIARY OBJECTIONS TO
                                             DECLARATIONS OF XIAUQING
14
            vs.                              LIU, XUHUA MO & JEN-FENG
15                                           LEE & EXHIBITS IN SUPPORT
      LIN’S WAHA INTERNATIONAL               THEREOF
16
      CORP, a New York corporation; and
17    DOES 1-10.                             Hearing:
18
                              Defendant.     Date: March 5, 2021
19                                           Time: 8:30 a.m.
20
                                             Ctrm: 6C

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                                 EVIDENTIARY OBJECTIONS
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 1                                 OBJECTIONS TO EVIDENCE
 2              Plaintiff OCM Group USA, Inc. (“Plaintiff” or “OCM”) submitted the
 3   declarations of Xiauqing Liu (“Liu”), XuHua Mo (“Mo”) and Jen-Feng Lee (“Lee”)
 4   in support of its opposition to Defendant Lin’s Waha International Corp’s (“Lin’s
 5   Waha”) Motion for Summary Judgment. Lin’s Waha submits the following
 6   objections to OCM’s evidence and requests that the Court not consider such
 7   evidence in ruling on Lin’s Waha’s pending Motion for Summary Judgment.
 8         I.      DECLARATION OF XIAUQING LIU & EXHIBITS
 9                Evidence                   Objection                  Ruling
10    1.        Since July 2019,     Lacks Foundation, FRE
11    OCM spent more than            602. Relevance, FRE
12    $100,000 in                    401-402.
13    advertisement/marketing
14    of the brands and sales
15    activities in the U.S.
16    2.         The Branded         Hearsay, FRE 802. Lacks
17    Products made by XPP           Foundation, FRE 602.
18    for OCM’s exclusive            Best Evidence Rule, FRE
19    distribution in U.S. are       1002. Relevance, FRE
20    different from XPP             401-402.
21    products made for
22                                   OCM’s Exhibit 3 attaches
      Chinese domestic
23                                   two (2) alleged
      consumption. XPP gave
24                                   “Veterinary (Health)
      OCM some veterinary
25                                   Certificates” that pertain
      certificates to show that
26                                   to only two products
      the milk/dairy products
27                                   (Matcha Mix Milk Tea
      used in the US-bound
28
                                                2
                                     EVIDENTIARY OBJECTIONS
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 1    products came from the      and Muscovado Sugar
 2    sources of New Zealand      Mix Milk Tea) – neither
 3    or Australia, complying     of which are one of the
 4    with USDA/APHIS [ ]         nine (9) Products at Issue.
 5    requirement for import      (See Compendium of
 6    entry into U.S. The         Exhibits, Exh. 3 [Dkt. 32-
 7    certificates are attached as 5]). Furthermore, both
 8    Exhibit 3.                  certificates are dated
 9                                March 24, 2020, well
10                                after the infringement
11                                period at issue – i.e. July
12                                2018 through October
13                                2019. Accordingly, the
14                                documents are irrelevant.
15

16                                To establish a proper
17                                foundation, the source of
18                                the witness’ personal
19                                knowledge must be
20                                disclosed. A witness may
21                                give opinion testimony
22                                only if “it is rationally
23                                based on the perception
24                                of the witness.” FRE
25                                602; Dorn v. Burlington-
26                                Northern Santa Fe R.R.
27                                Co., 397 F. 3d 1183,
28
                                             3
                                  EVIDENTIARY OBJECTIONS
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 1                              1192-1193 (9th Cir.
 2                              2005); United States v.
 3                              Ayala-Pizarro, 407 F. 3d
 4                              25, 27-29 (1st Cir. 2005).
 5                              Ms. Liu fails to identify
 6                              how she, as the OCM
 7                              brand manager, is aware
 8                              of the manufacturing
 9                              processes of XPP for the
10                              Products at Issue and the
11                              creation of the veterinary
12                              certificates by XPP.
13                              Rather, her knowledge, if
14                              any, must have been
15                              provided by XPP and
16                              such information is
17                              hearsay.
18

19                              To the extent Ms. Liu
20                              purports to testify
21                              regarding the
22                              contents of the
23                              “veterinary certificates,”
24                              the certificates are
25                              the best evidence of their
26                              contents.
27

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                                EVIDENTIARY OBJECTIONS
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 1    3.     LW’s Branded         Hearsay, FRE 802.
 2    Products are those made     Improper Legal
 3    by XPP for Chinese          Conclusion, FRE 704.
 4    consumption and would       Improper Expert Opinion,
 5    not be allowed for import   FRE 702.
 6    into US.
 7                                To establish a proper
 8                                foundation, the source of
 9                                the witness’ personal
10                                knowledge must be
11                                disclosed. A witness may
12                                give opinion testimony
13                                only if “it is rationally
14                                based on the perception
15                                of the witness.” FRE
16                                602; Dorn v. Burlington-
17                                Northern Santa Fe R.R.
18                                Co., 397 F. 3d 1183,
19                                1192-1193 (9th Cir.
20                                2005); United States v.
21                                Ayala-Pizarro, 407 F. 3d
22                                25, 27-29 (1st Cir. 2005).
23                                Ms. Liu fails to identify
24                                how she, as the OCM
25                                brand manager, is aware
26                                of what products XPP
27                                sold that were purchased
28
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                                  EVIDENTIARY OBJECTIONS
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 1                                by Lin’s Waha. Rather,
 2                                her knowledge, if any,
 3                                must have been provided
 4                                by XPP and such
 5                                information is hearsay.
 6

 7                                To the extent Ms. Liu
 8                                testifies as to her
 9                                opinion regarding legal
10                                requirements imposed on
11                                Lin’s Waha, she was not
12                                properly disclosed as an
13                                expert, and is not
14                                qualified to provide
15                                expert testimony. Fed. R.
16                                Civ. P. 37(c)(1); Fed. R.
17                                Evid. 702.
18    6. I compiled OCM’s         Improper Expert Opinion,
19    damages computation,        FRE 702. Lacks
20    showing that those LW       Foundation, FRE 602.
21    products would have
22    been sold by OCM, due       The testimony lacks
23    to the exclusivity. The     foundation. Ms. Liu does
24    damages amount would        not set forth any facts to
25    be $82,666. The             show her “familiarity”
26    computation, OCM 001,       with Lin’s Waha sales or
27    is attached as Exhibit 7.   margins. She does not set
28
                                             6
                                  EVIDENTIARY OBJECTIONS
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 1                              forth any facts showing
 2                              her personal knowledge
 3                              that “but for” Lin’s
 4                              Waha’s sales, OCM
 5                              would have sold the very
 6                              same amount of products,
 7                              at certain prices, to the
 8                              same customers.
 9                              To the extent Ms. Liu
10                              holds herself out as an
11                              expert on this topic, she
12                              was not disclosed as such
13                              an expert, and is therefore
14                              precluded from offering
15                              her opinions. Fed. R. Civ.
16                              P. 37(c)(1). Even if she
17                              had been disclosed, the
18                              testimony does not show
19                              that Ms. Liu is qualified
20                              to offer an opinion as a
21                              damages expert. She does
22                              not have any specialized
23                              knowledge, skills,
24                              experience, training, or
25                              education which qualify
26                              her to express an opinion
27                              on damages. Fed. R.
28
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                                EVIDENTIARY OBJECTIONS
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 1                              Evid. 702. The evidence
 2                              does not show that her
 3                              opinions are based on
 4                              sufficient facts or data, or
 5                              that they are the product
 6                              of reliable principles and
 7                              methods, or that she has
 8                              reliably applied principles
 9                              and methods to the facts
10                              of the case. Fed. R. Evid.
11                              702. Her damages
12                              opinion is purely
13                              speculative. See
14                              tagTrends, Inc. v.
15                              Nordstrom, Inc., 2014
16                              WL 12561604, at *5
17                              (C.D.Cal. 2014) (finding
18                              declaration of plaintiff’s
19                              employee re plaintiff’s
20                              supposed damages is
21                              inadmissible, concluding
22                              that “Plaintiffs' have
23                              failed to establish a
24                              proper factual basis for
25                              Hart's evaluation of
26                              Plaintiffs' damages”).
27

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                                EVIDENTIARY OBJECTIONS
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 1    8. OCM has many other     Relevance, FRE 401-402.
 2    overlapping customers     Lacks Foundation, FRE
 3    with LW, though these     602.
 4    customers did not
 5    purchase the 9 Branded    OCM has not produced
 6    Products from OCM:        any evidence supporting
 7    []                        sales – whether of the
 8                              Products at Issue or
 9                              otherwise – for the
10                              claimed “overlapping
11                              customers.” Ms. Liu
12                              provides no foundation
13                              for the basis of her
14                              statement that the
15                              customers identified
16                              actually purchased any
17                              products from OCM.
18                              Nor does the Liu
19                              declaration identify any
20                              promotional or marketing
21                              activities conducted by
22                              OCM as to these
23                              “overlapping customers,”
24                              and for what products.
25    9. OCM’s market           Relevance, FRE 401-402.
26    coverage is the whole     Lacks Foundation, FRE
27    Unite [sic] States. OCM   602.
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                                EVIDENTIARY OBJECTIONS
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 1     has four (4) branch
 2     offices serving the whole   OCM offers Exhibit 11–
 3     U.S., as shown in the       which appears to be a
 4     screenshot taken from our screen shot of office
 5     website                     locations for OCM Globe
 6     www.ocmfoods.com. The USA, Inc. – which is not
 7     screenshot is attached as   the plaintiff or a party to
 8     Exhibit 11.                 this action, and does not
 9                                 indicate where OCM sells
 10                                the Products at Issue.
 11                                The screenshot also does
 12                                not provide any detail as
 13                                to who the customers are
 14                                that the random arrows
 15                                are pointing to.
 16    10. OCM conducted           Relevance, FRE 401-402.
 17    marketing and               Lacks Foundation, FRE
 18    advertisement activities    602. Best Evidence Rule,
 19    to promote the Branded      FRE 1002.
 20    Products all across
 21    United States. Some         Lin’s Waha objects to the
 22    records of such marketing characterization of
 23    penetration are produced    Exhibit 12 on the grounds
 24    during discovery;           that the document speaks
 25    attached as Exhibit 12.     for itself, inasmuch as the
 26                                photographs do not show
 27                                that the promotional
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                                   EVIDENTIARY OBJECTIONS
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 1                                  activities involve the
 2                                  Products at Issue.
 3

 4       II.     DECLARATION OF XUHUA MO & EXHIBITS
 5             Evidence                     Objection              Ruling
 6     2. Based upon the            Hearsay, FRE 802.
 7     information XPP learned      Lacks foundation, FRE
 8     from the California case,    602.
 9     LW purchased the XPP
 10    domestic products            To the extent Mr. Mo
 11    (manufactured for China      testifies regarding
 12    domestic consumption),       statements purportedly
 13    and shipped to US for        made by opposing
 14    resales. XPP is informed counsel, it is inadmissible
 15    that LW claimed that         hearsay. Mr. Mo has
 16    such transaction is          failed to establish a
 17    legitimate and is            proper foundation, the
 18    protected under the “first   source of the witness’
 19    sale doctrine.”              personal knowledge must
 20                                 be disclosed. Thus, it is
 21                                 not sufficient if the
 22                                 witness merely states that
 23                                 he was “told” or
 24                                 otherwise “learned” of
 25                                 the subject matter of his
 26                                 or his testimony. Ward v.
 27                                 First Fed’l Sav. Bank,
 28
                                              11
                                    EVIDENTIARY OBJECTIONS
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 1                              173 F. 3d 611, 617-618
 2                              (7th Cir. 1999) (witness
 3                              statement that he was
 4                              “aware” of alleged
 5                              instruction not to hire
 6                              African-Americans not
 7                              sufficient to lay proper
 8                              foundation); see also
 9                              Travelers Cas. & Sur.
 10                             Co. v. Telstar Const. Co.,
 11                             Inc., 252 F. Supp. 2d 917,
 12                             924, 925 (D. Ariz. 2003)
 13                             (striking affidavit).
 14                             Here, Mr. Mo purports to
 15                             testify as to facts
 16                             concerning Lin’s Waha’s
 17                             activities but fails to
 18                             explain what precisely he
 19                             was told, what documents
 20                             he was given, or who
 21                             told/provided him this
 22                             information and when.
 23                             At best, it is presumably
 24                             based upon hearsay
 25                             statements of opposing
 26                             counsel.
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                                 EVIDENTIARY OBJECTIONS
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 1     3. XPP learned from         Hearsay, FRE 801, 802.
 2     OCM’s counsel that the      Improper Expert Opinion,
 3     first sale doctrine would   FRE 702.
 4     not protect LW from
 5     liability because the XPP   Mr. Mo’s testimony
 6     products sold by LW are     regarding statements
 7     materially different from   OCM’s attorney made to
 8     the products sold by        him is inadmissible
 9     OCM, who is the             hearsay. To the extent
 10    legitimate and exclusive    Mr. Mo testifies as to his
 11    distributor of XPP’s        opinion regarding legal
 12    products earmarked for      requirements imposed on
 13    US market.                  Lin’s Waha, or the legal
 14                                effect of being an
 15                                “exclusive distributor,”
 16                                he was not properly
 17                                disclosed as an expert,
 18                                and is not qualified to
 19                                provide expert testimony.
 20                                Fed. R. Civ. P. 37(c)(1).
 21    4. The material             Lacks Foundation, FRE
 22    difference is because the   602.
 23    XPP specifically
 24    manufacture its US-         To establish a proper
 25    bound drink products        foundation, the source of
 26    using milk/dairy sources    the witness’ personal
 27    from New Zealand or         knowledge must be
 28
                                             13
                                   EVIDENTIARY OBJECTIONS
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 1     Australia, whereas the     disclosed. A witness may
 2     drinks sold by LW used     give opinion testimony
 3     milk/dairy products from   only if “it is rationally
 4     China domestic sources.    based on the perception
 5                                of the witness.” FRE
 6                                602; Dorn v. Burlington-
 7                                Northern Santa Fe R.R.
 8                                Co., 397 F. 3d 1183,
 9                                1192-1193 (9th Cir.
 10                               2005); United States v.
 11                               Ayala-Pizarro, 407 F. 3d
 12                               25, 27-29 (1st Cir. 2005).
 13                               Mr. Mo fails to identify
 14                               how he, as a brand
 15                               manager, is aware of the
 16                               manufacturing processes
 17                               of XPP for the Products
 18                               at Issue. To the contrary,
 19                               the “Products
 20                               Distribution Agreement”
 21                               between XPP and OCM
 22                               states that XPP’s
 23                               products “are
 24                               manufactured in
 25                               accordance with the
 26                               quality standards of
 27                               [People’s Republic of
 28
                                            14
                                  EVIDENTIARY OBJECTIONS
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 1                                  China] and can only be
 2                                  sold after passing
 3                                  inspection.” (emphasis
 4                                  added). Nowhere in this
 5                                  Agreement does it state
 6                                  that goods manufactured
 7                                  for OCM are
 8                                  manufactured in
 9                                  accordance with U.S.
 10                                 requirements, and Mr.
 11                                 Mo provides no
 12                                 explanation or
 13                                 reconciliation for this
 14                                 inconsistency.
 15    5. The main reason for       Lacks Foundation, FRE
 16    the milk/dairy product       602. Improper Legal
 17    using different sources is   Conclusion, FRE 704.
 18    because the import entry     Improper Expert Opinion,
 19    requirements set by          FRE 702. Hearsay, FRE
 20    USDA (US Department          802.
 21    of Agriculture) and the
 22    agency APHIS (Animal         To the extent Mr. Mo
 23    and Plant Health             testifies as to his
 24    Inspection Service) under opinion regarding legal
 25    USDA. XPP’s domestic         requirements imposed on
 26    products used milk/dairy     Lin’s Waha, he was not
 27    sources that are not tested properly disclosed as an
 28
                                              15
                                    EVIDENTIARY OBJECTIONS
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 1     for the USDA/APHIS       importation expert, and is
 2     compliance.              not qualified to provide
 3                              expert testimony. Fed. R.
 4                              Civ. P. 37(c)(1); Fed. R.
 5                              Evid. 702.
 6

 7                              To establish a proper

 8                              foundation, the source of

 9                              the witness’ personal

 10                             knowledge must be

 11                             disclosed. A witness may

 12                             give opinion testimony

 13                             only if “it is rationally

 14                             based on the perception

 15                             of the witness.” FRE

 16                             602; Dorn v. Burlington-

 17                             Northern Santa Fe R.R.

 18                             Co., 397 F. 3d 1183,

 19                             1192-1193 (9th Cir.

 20                             2005); United States v.

 21                             Ayala-Pizarro, 407 F. 3d

 22                             25, 27-29 (1st Cir. 2005).

 23                             Mr. Mo fails to identify

 24                             how he, as a brand

 25                             manager, is aware of the

 26                             manufacturing processes

 27                             of XPP for the Products

 28                             at Issue.
                                           16
                                 EVIDENTIARY OBJECTIONS
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 1     6. XPP products             Hearsay, FRE 802. Lacks
 2     manufactured for OCM,       Foundation, FRE 602.
 3     on the other hand, use      Best Evidence Rule, FRE
 4     sources from New            1002. Relevance, FRE
 5     Zealand or Australia and    401-402.
 6     XPP provide the
 7     veterinary certificate as   OCM’s Exhibit 3 attaches
 8     the needed proof at         two (2) alleged
 9     import entry to US that     “Veterinary (Health)
 10    the products are            Certificates” that pertain
 11    complying with the          to only two products
 12    USD/APHIS regulations.      (Matcha Mix Milk Tea
 13                                and Muscovado Sugar
 14                                Mix Milk Tea) – neither
 15                                of which are one of the
 16                                nine (9) Products at Issue.
 17                                (See Compendium of
 18                                Exhibits, Exh. 3 [Dkt. 32-
 19                                5]). Furthermore, both
 20                                certificates are dated
 21                                March 24, 2020, well
 22                                after the infringement
 23                                period at issue – i.e. July
 24                                2018 through October
 25                                2019. No other
 26                                certificates are attached,
 27                                referenced or cited in Mr.
 28
                                             17
                                   EVIDENTIARY OBJECTIONS
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 1                                 Mo’s declaration, nor
 2                                 does Mr. Mo identify
 3                                 which certificates he is
 4                                 referring to that were
 5                                 provided by XPP “as the
 6                                 needed proof at import
 7                                 entry to US.”
 8                                 Accordingly, to the extent
 9                                 that Mr. Mo is referring
 10                                to OCM Exh. 3, these
 11                                documents are irrelevant.
 12                                To the extent Mr. Mo
 13                                purports to testify
 14                                regarding the contents of
 15                                the “veterinary
 16                                certificates,” the
 17                                certificates are
 18                                the best evidence of their
 19                                contents, and they are not
 20                                attached to his
 21                                declaration, and the basis
 22                                of his understanding
 23                                would constitute hearsay.
 24    7. I learned that some of   Lacks foundation, FRE
 25    the LW’s products (those    602. Hearsay, FRE 801,
 26    XPP domestic products       802. FRE 1002, Best
 27    LW purchased and            Evidence Rule.
 28
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                                   EVIDENTIARY OBJECTIONS
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 1     shipped to US for resales)
 2                                  To the extent Mr. Mo
       were seized and
 3                                  testifies regarding
       destroyed by USDA for
 4                                  statements purportedly
       the reason of failing to
 5                                  made by opposing
       present needed certificate
 6                                  counsel, it is inadmissible
       and failing the entry
 7                                  hearsay. Mr. Mo has
       requirement set by
 8                                  failed to establish a
       USDA/APHIS.
 9                                  proper foundation, the

 10                                 source of the witness’

 11                                 personal knowledge must

 12                                 be disclosed. Thus, it is

 13                                 not sufficient if the

 14                                 witness merely states that

 15                                 he was “told” or

 16                                 otherwise “learned” of

 17                                 the subject matter of his

 18                                 or her testimony. Ward

 19                                 v. First Fed’l Sav. Bank,

 20                                 173 F. 3d 611, 617-618

 21                                 (7th Cir. 1999) (witness

 22                                 statement that he was

 23                                 “aware” of alleged

 24                                 instruction not to hire

 25                                 African-Americans not

 26                                 sufficient to lay proper

 27                                 foundation); see also

 28                                 Travelers Cas. & Sur.
                                              19
                                    EVIDENTIARY OBJECTIONS
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 1                              Co. v. Telstar Const. Co.,
 2                              Inc., 252 F. Supp. 2d 917,
 3                              924, 925 (D. Ariz. 2003)
 4                              (striking affidavit).
 5                              Here, Mr. Mo purports to
 6                              testify as to facts
 7                              concerning a seizure of
 8                              products but fails to
 9                              explain what precisely he
 10                             was told, what documents
 11                             he was given, or who
 12                             told/provided him this
 13                             information and when.
 14                             At best, it is presumably
 15                             based upon hearsay
 16                             statements of opposing
 17                             counsel.
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                                 EVIDENTIARY OBJECTIONS
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 1       III.   DECLARATION OF JEN-FENG LEE & EXHIBITS
 2

 3              Evidence                     Objection             Ruling
 4     4. Defendant LW’s             Improper Legal
 5     Branded Products cannot       Conclusion, FRE 704.
 6     be legally imported into      Improper Expert Opinion,
 7     U.S.                          FRE 702.
 8
 9                                   OCM’s counsel has not
 10                                  been named as an expert,
 11                                  nor has he provided any
 12                                  information regarding his
 13                                  qualification to opine on
 14                                  importation requirements.
 15    5. I help sent out other      Relevance, FRE 401-402.
 16    cease and desist letters to   Hearsay, FRE 801, 802.
 17    distributors who were
 18    competing against OCM         Whether OCM enforces
 19    selling some brands that      its other trademarks (even
 20    OCM obtained                  those not at issue herein)
 21    exclusivity. These            is irrelevant as to the
 22    distributors complied         issues in the Motion,
 23    with OCM’s demand             namely whether Lin’s
 24    after receiving warning       Waha’s sales are
 25    letters; see Exhibit B.       protected by the first sale
 26                                  doctrine.
 27

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                                     EVIDENTIARY OBJECTIONS
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 1     6. Some vendors and/or        Relevance, FRE 401-402.
 2     merchants, upon contact,      Hearsay, FRE 801, 802.
 3     signed back their
 4     acknowledgement of            Whether the “vendors and
 5     OCM’s exclusivity in          merchants”
 6     U.S. regarding the XPP        “acknowledge” OCM’s
 7     branded products; four        exclusivity is irrelevant
 8     (4) declarations are          as to the issues in the
 9     attached as Exhibit 9.        Motion, namely whether
 10                                  Lin’s Waha’s sales are
 11                                  protected by the first sale
 12                                  doctrine. The
 13                                  communicative act of
 14                                  “acknowledgement” is
 15                                  hearsay.
 16    7. In addition to some        Lack of Personal
 17    invoices produced as          Knowledge, FRE 602 &
 18    OCM003 – 006, OCM             901. Hearsay, FRE 801,
 19    produced sales summary        802.
 20    in Excel files, attached as
 21    Exhibit 10 (burned to a       Mr. Lee is purporting to
 22    CDROM and is lodged to testify and authenticate
 23    the Court concurrently).      OCM’s business and
 24                                  sales summary. He does
 25                                  not present sufficient
 26                                  evidence of personal
 27                                  knowledge to
 28
                                               22
                                     EVIDENTIARY OBJECTIONS
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 1                                  authenticate the
 2                                  referenced exhibits, or to
 3                                  testify regarding their
 4                                  authenticity. Fed. R.
 5                                  Evid. 901.
 6

 7                                  Furthermore, Mr. Lee
 8                                  offers the contents of the
 9                                  document to prove the
 10                                 truth of the matter stated
 11                                 therein – that these sales
 12                                 actually occurred and
 13                                 evidence competition
 14                                 with Lin’s Waha.
 15                                 Therefore, it is also
 16                                 inadmissible as hearsay.
 17    8. During discovery,         Lack of Personal
 18    OCM responded to             Knowledge, FRE 602 &
 19    interrogatories related to   901. Hearsay, FRE 801,
 20    its promotion activities     802.
 21    and advertisement
 22    campaigns activities,        Mr. Lee is purporting to
 23    showing the                  testify and authenticate
 24    market coverage of           OCM’s business,
 25    across the whole U.S; the    promotion activities and
 26    relevant portion is          market coverage. He
 27    attached as Exhibit 13.      does not present
 28
                                              23
                                    EVIDENTIARY OBJECTIONS
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 1                              sufficient evidence of
 2                              personal knowledge to
 3                              authenticate the
 4                              referenced exhibits, or to
 5                              testify regarding their
 6                              authenticity. Fed. R.
 7                              Evid. 901. Mr. Lee is
 8                              improperly injecting
 9                              himself as a percipient
 10                             witness to these facts,
 11                             when he is only counsel.
 12                             The fact that the
 13                             documents were
 14                             produced by OCM is not
 15                             alone sufficient to
 16                             establish that it is what
 17                             Mr. Lee contends it is.
 18                             Mr. Lee did not create the
 19                             referenced exhibits, nor
 20                             offer any evidence to
 21                             identify the author of the
 22                             document, or to establish
 23                             the circumstances
 24                             under which it was
 25                             created. Therefore, it does
 26                             not satisfy the definition
 27                             of “nonhearsay.”
 28
                                           24
                                 EVIDENTIARY OBJECTIONS
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 1

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 3     Dated: February 18, 2021              Respectfully submitted,

 4                                           witkow | baskin
 5
                                             By: /s/ Brandon J. Witkow
 6                                           Brandon J. Witkow
 7
                                             Attorneys for Defendant
 8                                           LIN’S WAHA INTERNATIONAL
 9                                           CORP.
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                                  EVIDENTIARY OBJECTIONS
